       Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 1 of 7



                                April      21    2000



Floyd    W.   Freed    III
6630 Cypresswood         Dr.    Suite      200
Spring TX    77379




RE     Case No. 73708
       179TH DISTRICT COURT           -   800112


Style     MAMOU       CHARLES   JR.


Dear Counsel

                      ORDER
The appellants motion     extension of time within which to
                                 for
file the appellants brief was granted. The time for filing  the
appellants brief has been extended  to 9-5-00.




                                             Sincerely


                                 t1                                ý



                                             Troy C.    Bennett   Jr.
                                             Clerk




cc     Charles Bacarisse
        Judge Presiding
       Pam Knobloch
       Wendy Wilkerson
       John B. Holmes
              Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 2 of 7
     J1
                                              I




Jý   -


                                                                  NO. 73708


                                     IN    THE COURT OF CRIMINAL                        APPEALS

         ýý                                        FOR THE STATE OF TEXAS
              r
                  l


                                                                 AT AUSTIN




                                                      CHARLES           MAMOU         JR.




                                                                             Appellant



                                                                       vs.




                                                      THE STATE OF TEXAS


                                                                             Appellee




                                  APPELLANTS MOTION FOR EXTENSION OF
                              TIME WITHIN WHICH TO FILE APPELLANTS BRIEF



                                         On       Appeal    in   Cause No. 800112 from the

                                 179th    Judicial     District    Court of Harris County Texas




     TO THE HONORABLE JUDGE OF SAID                                COURT


              COMES        NOW     CHARLES            MAMOU            JR. Appellant herein by and through           his




     appointed        counsel on appeal    and      files   this his   Motion   for   Extension   of Time Within Which     to   File




     Appellants Brief.        In support thereof he would respectfully                  show   the Court as follows



                                                                                                   FILED      lit

                                                                                                               APPEALS
                                                                                             COURT OF CRIMINAL



                                                                                                  APR   2   0 2000




                                                                                                    Bennett Jr. Clerk
                                                                                            Troy C.
           Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 3 of 7




                                                                           I.




            Appellant was convicted               by a jury of the offense of                 capital     murder        in   Cause No.      800112

in   the   179thnd Judicial          District    Court of Harris County Texas.                      The punishment              assessed was



death.




The undersigned attorney was appointed                           to   represent Appellant.




                                                                          II.




           The Appellants             Brief was due on April              20      2000. Counsel asks for an extension                       until




September         5   2000.




                                                                         III.




           As   reasons for the request               due   to   the magnitude           of the case counsel requires additional


time to review the voluminous record and                                               research this case. Counsel
                                         completely                                                                             is   currently



working     on other     briefs.          For these reasons counsel has not been able                         to   complete          Appellants


brief by the due date of April               20 2000        but would request this extension                       to   afford counsel ample



time to provide        effective         assistance    in this    appeal.



           This   motion      is   not    made   for
                                                       any purpose of delay but so                  that   Appellant          who     is   indigent



may   receive effective            representation      on appeal of             his   death   penalty     conviction.



           WHEREFORE PREMISES CONSIDERED                                              Appellant respectfully prays that the                   Court


extend the date        for filing     Appellants Brief until September                        5   2000.
Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 4 of 7




                                    Respectfully   subrtted            _




                                    FLOY           REED          III


                                    State   Bar                  00

                                    6630 Cypres              I                 Suite 200

                                                      3
                                                         C                 -



                                    Spring Texas77

                                    Telephone      2813 488
                                    Telecopier     281   379-6916



                                    ATTORNEY FOR APPELLANT
      Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 5 of 7



                                      CERTIFICATE OF SERVICE


         I   hereby certify that a true and correct copy of the foregoing   Motion was served on Harris



County   District   Attorney   Appellant Division   1201 Franklin Suite     400 Houston Texas by


regular mail on this    theth       day of April 2000.




                                                          F            FREED     III
       Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 6 of 7



                                March      17     2000



Floyd    W.   Freed    III
6630 Cypresswood         Dr.     Suite      200
Spring TX   77379




RE     Case No. 73708
       179TH DISTRICT COURT            -   800112


Style MAMOU           CHARLES    JR.


Dear    Counsel

      The motion for extension                  of time to file         the    Reporters
Record has been granted.    The                 time for filing         has    been
extended to 3-20-00.




                                                Sincerely




                                                Toy      C.   Bennett    Jr.
                                                Clerk




cc     Charles Bacarisse
        Judge Presiding
       Pam Knobloch
       Wendy Wilkerson
       John B. Holmes
7-3709-%
    Case 4:14-cv-00403 Document 55 Filed on 04/11/14 in TXSD Page 7 of 7



D                                                                 CAUSE NO.           800112



         THE STATE OF TEXAS                                                                  IN    THE DISTRICT COURT OF


          VS                                                                                 HARRIS COUNTY T E X                          AS

          CHARLES         MAMOU                                                               1797 JUDICIAL DISTRICT




                                        MOTION TO EXTEND TIME FOR FILING
                                           COURT REPORTERS RECORD

         TO THE HONORABLE                       flJDGE OF SAID                    COURT



                   COMES NOW              the       Deputy        court     reporter in the        above-styled and           numbered cause


         and   moves      to   extend   the    time of          filing    the court    reporters     record.        The   court     reporters


         record   in the above-styled              case     was due on March 15 2000.                      I   was unable         to turn the




         record   in   before    that   date.       I   am requesting            additional   time    to   file   the record       to   through



         and   including       March 20 2000.




                   WHEREFORE                  the       court   reporter respectfully          prays    that      this   Honorable


         Court    grant   this   motion       to    extend       the     court   reporters    record.




                                                                         Respectfully    submitted



                                                                                 t




                                                                           endy dill           n
                                                                         Official    Cow T   Reporter

                                                                         County Criminal Court             at   Law No.       5

                                                                         1201    Franklin     0 Floor
                                                                         Houston Texas         77002

                                                                       713       755-6196




                                                                                                                FILED               IN
                                                                                                  COURT OF CRIMINAL APPEALS



                                                                                                           MAR           15       2000




                                                                                             Troy C. Bennett Jr. Clerk
